                                        Case 19-33787-swe7                      Doc 111   Filed 07/29/22
                                                                                                  FORM 1
                                                                                                          Entered 07/29/22 11:22:07                                           Desc Main
                                                                                        Document      Page 1 of 1
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                              Page:        1
                                                                                                            ASSET CASES
Case No:             19-33787       SWE     Judge: SCOTT W. EVERETT                                                                             Trustee Name:                       DANIEL J. SHERMAN, TRUSTEE
Case Name:           COORD, LLC                                                                                                                Date Filed (f) or Converted (c):     11/08/19 (f)
                                                                                                                                               341(a) Meeting Date:                 02/04/20
For Period Ending: 06/30/22         (3rd reporting period for this case)                                                                       Claims Bar Date:                     05/04/20



                                       1                                                    2                            3                          4                         5                                     6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                   Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                 Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. FROST BANK - CHECKING ACCOUNT                                                               116.94                           116.94                                                  0.00                     FA


 2. SOFTWARE PLATFORM FOR HEALTHCARE ASSESSMENT                                           100,000.00                          100,000.00                                           267,500.00                     FA
     SOFTWARE PLATFORM FOR HEALTCHARE ASSESSMENT AND
     TRACKING USED TO IDENTIFY AND ACCESS THE NEEDS OF
     MEDICAID PATIENTS AND COMMUNICATE FINDINGS IN REAL
     TIME TO INSURANCE COMPANIES. AT ONE TIME, DEBTOR
     HAD OFFER TO SELL SOFTWARE FOR $5.5M BUT SALE WAS
     NEVER CONSUMMATED. SOFTWARE NEEDS UPDATING.

                                                                                                                                                                                                   Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                       $100,116.94                         $100,116.94                                          $267,500.00                            $0.00
                                                                                                                                                                                                   (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   CLAIMS REVIEWED AND OBJECTIONS DRAFTED. ACCOUNTANT EMPLOYED. ESTIMATED DATE OF CLOSING IS 02/01/2023.


   Initial Projected Date of Final Report (TFR): 12/01/20            Current Projected Date of Final Report (TFR): 02/01/23




LFORM1                                                                                                                                                                                                                           Ver: 22.06b
